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_ ___,__._._.,__,__._.....~~ of: M<3:kr:lca.\ ::fuot::> - 'f,'se. ·{~ r 5,J5 I :±be. ~ u-t- -kll,n.-. .                                  _ !:!o<.>i..L.>,<'---"'~~'""""""'-"'-- - - - -


                                                       ltiur:+:            do net±: bo.Y~ .\o lRn-b;.m~te&k- Wht .ELl:£:, d ®>vcty'.                               r-~,   rt:

_ _ Ll......,t~ b:nd~           ~Oc..fs - 0:;-b ><l')l'..ul :±he. r ~ C ? \ ~d ~.........,>C'.1-:.=~4-"==~-,...- - -
     "1 Ji±Wet1ULV1 ,Od:,u<tz. 1                WooJ..s and }1offiQe.S 01l XtxJ.J :then:. tJcr e- d oz.co:> 1 i:f extt, b..ini~-_.s_ __
              ~               ~      ::;, 1 d o 10 C/<llloP
                     , nc.c,~ 0:::J:ns                  ~
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       Pkto-:H.ff's C,ie}:ro.) ½.cboirnlly' ::klllJAni-c llic. PtQC&S5 Cl4«                                      6f:±be ¼frdemH, .A-mcntro,mi- ~~wse-
          c. i 0 ca (11~. I d e:deil ac? 1 ±be.                  f-.,fi,+b Atne,,;trr&ot ~ 1                        16 0.tz±.--qo;,\ -l:lr.~&..ptro#,!ttt t-4.,.,.,.,<.JCL._ __



- - - - - -~                   - - - --            --::ic:._::Juu:--.1.J..-.i;...=... . . u ~,    ~ rx-«:, c c ~I 6 1:::idqncr.:,                      af.   -'-""'.LL.<1......--- - - -

      \Jb 1··b n o.n.-411d Good!> 1 noc p~ ~rtcc.:> gnd or la,rq,!c.i nJ.-s                                               ±mm ~ ._r_,O:Je........,....,iCL./qc.-=e..- - - -
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- -~                                       dc    fis:~tkd ~ d O~c.ry,                                 wb,dJ c:xi<kt:xr.. 0.1:b?m~                  ::Iodi£fum4:, {$) .. -rhc.._

       4ot:       !>~-~~e.> an_~~ Set,,:n~ .S\4krn k-stit:!bO;e.~ D i~plMW Pc:fs <let~ ac4: l<tl:\Ll;oj (rni;SJ~

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      o   r   yimcA:i<L by          <=4.   mun',c,pa\iry'~ Waad:W0n:1 "X.                               Lore      Mel. 5rc('.s of ::r:ll , 1 nc,. 1 3loS £3d911
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_ __ _ ___....,_ _..._._......_-'-'-',u t:+                  r~~:$11 / ·-H,c: d.~6:h:~ct C,,).r1,r+ .5mn+: of 6uroma.q :1xl,smcn:t
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  ck no'la B ,Ahhln                Y. i\d           of:   B,~·n+o, 4351 tad {p~D, lz't+: (]+b (ic J/111), OutnroY1r:/

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                                                            2:17-cv-02169-SEM-TSH # 99                           Page 18 of 18



     jn ~~Fr+                     M De.+eodan_-1:_!5. Mo+ia.o -tor .:Uro,-rY.1ry                                  ~d.5ro~ot-, dG::>p-i'--le._~.'.5 '
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